Case 3: 06- -c\/- OO 1- |\/| Document 14 Filed 07/12/06 Page 1 of 1 Page|D 263

 

   

 

 

 

 

 

 

 

C%` §\ `\ \* IN THE UNITED STATES DISTRICT COUR
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
DAVID WAYNE JONES § .W cr h
§ '. CIJF:;:.::<;, Ls;z,iana§cr ’~QURT
Petitioner, § BY .M.
§ .L~" \’ _,;' 1:- »;:,"
vs. § 4
§ NO. 3-06-CV-0261-M
NATHANIEL QUARTERMAN, Director §
Texas Department of Criminal Justice, §
Correctional Institutions Division §
§
Respondent. §

MB
After conducting a review of the pleadings, files and records in this case, and the Findings
and Recornmendation of the United States Magistrate Judge in accordance With 28 U.S.C. §
636(b)(1), I am of the opinion that the Findings and Recommendation of the Magistrate Judge are
correct, and they are hereby accepted as the Findings of the Cour“c.

SO ORDEREDrhiS il day ofW,zooa

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UNI{ED STATES DISTRlcT JUQGE

 

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